96 F.3d 1432
    Carleton R. Cummings, Jack T. Wehnerv.Norman R. Parker, Joseph R. DiAngelo, James P. Schmitt, Jr.,Gratz Group, Inc., a/k/a Datacomp Corporation, FinancialPress Corporation, a/k/a FPC Liquidating Corporation,Herbick &amp; Held Printing Company, North Shore Communications Limited
    NO. 95-3524
    United States Court of Appeals,Third Circuit.
    Aug 08, 1996
    
      Appeal From:  W.D.Pa., No. 93-cv-01780,
      Diamond, J.
    
    
      1
      AFFIRMED.
    
    